935 F.2d 267
    Elkins (Roger L.), Moore (Wanda), Hicks (Mary), Rose (Sue),Hill (Jackie), Lyles (Gary), Harrison (Smiddy), Woods(Keith), Eldridge (Johnny), Mullins (Eugene), Childress(Greg), Breeding (Charles), O'Quinn (Joey), Yates (Leroy),Goins (Russell), Mullins (Carolyn), Willis (Harold), Boyd(Freddy), Turner (Denis), Edwards (Tim), Blansett (Mickey)v.Sullivan (Ira), Phipps (Avery), Vanover (Ralph), Shortt(Burl), Sutherland (Jim), Tate (Joe), Robinson(Jim), Vanover (Henry),
    NOS. 90-2643, 90-2714
    United States Court of Appeals,Fourth Circuit.
    JUN 12, 1991
    Appeal From:  W.D.Va., 765
    F.Supp. 1541
    
      1
      APPEAL DISMISSED.
    
    